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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF VIRGINIA
                                   ALEXANDRIA DIVISION

   BMG RIGHTS MANAGEMENT (US) LLC,
   et al.,
                 Plaintiffs,
                                                      Civil No. 1:14-cv-1611 (LO / JFA)
                  v.

   COX COMMUNICATIONS, INC, et al.,

                          Defendants.


                           COX’S PROPOSED JURY INSTRUCTIONS

         Defendants Cox Communications, Inc. and Coxcom, LLC (“Cox”), submit these pro-

  posed jury instructions. Cox reserves the right and requests the opportunity to supplement these

  proposed jury instructions with additional instructions in the event that issues arise in pretrial rul-

  ings or during trial and for all other purposes contemplated by the Local Rules and Federal Rules

  of Civil Procedure.
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                           Defendant’s Proposed Jury Instruction No. 1

                                        General Introduction

         Now that you have heard the evidence and the argument, it is my duty to instruct you

  about the applicable law. It is your duty to follow the law as I will state it. You must apply the

  law to the facts as you find them from the evidence in the case. Do not single out one instruction

  as stating the law, but consider the instructions as a whole. Do not be concerned about the wis-

  dom of any rule of law stated by me. You must follow and apply the law.

         The lawyers have properly referred to some of the governing rules of law in their argu-

  ments. If there is any difference between the law stated by the lawyers and these instructions,

  you must follow my instructions.

         Nothing I say in these instructions indicates I have any opinion about the facts. You, not

  I, have the duty to determine the facts.

         You must perform your duties as jurors without bias or prejudice as to any party. The law

  does not permit you to be controlled by sympathy, prejudice, or public opinion. All parties ex-

  pect that you will carefully and impartially consider all the evidence, follow the law as it is now

  being given to you, and reach a just verdict, regardless of the consequences.




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                           Defendant’s Proposed Jury Instruction No. 2

                                           Evidence in the Case

          Unless you are otherwise instructed, the evidence in the case consists of the sworn testi-

  mony of the witnesses regardless of who called the witness, all exhibits received in evidence re-

  gardless of who may have produced them, and all facts and events that may have been admitted

  or stipulated to.

          Statements and arguments by the lawyers are not evidence. The lawyers are not wit-

  nesses. What they have said in their opening statements, closing arguments, and at other times is

  intended to help you understand the evidence, but it is not evidence. However, when the lawyers

  on both sides stipulate or agree on the existence of a fact, unless otherwise instructed, you must

  accept the stipulation and regard that fact as proved.

          Any evidence to which I have sustained an objection and evidence that I have ordered

  stricken must be entirely disregarded.




                                                    2
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                            Defendant’s Proposed Jury Instruction No. 3

                                       Questions Not Evidence

           If a lawyer asks a witness a question containing an assertion of fact, you may not con-

  sider the assertion as evidence of that fact. The lawyer’s questions and statements are not evi-

  dence.




                                                    3
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                           Defendant’s Proposed Jury Instruction No. 4

                                  Judge’s Questions to Witnesses

         During the trial, I may sometimes ask a witness questions. Please do not think I have any

  opinion about the subject matter of my questions. I may ask a question simply to clarify a matter,

  not to help one side of the case or harm another side.

         Remember at all times that you, as jurors, are the sole judges of the facts of this case.




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                           Defendant’s Proposed Jury Instruction No. 5

                                   Judge’s Comments to Lawyer

         It is my duty to caution or warn an attorney who does something I believe is not in keep-

  ing with the rules of evidence or procedure. You are not to draw any inference against the side I

  may caution or warn during the trial.




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                           Defendant’s Proposed Jury Instruction No. 6

                                       Objections and Rulings

         Testimony and exhibits may be admitted into evidence during a trial only if they meet

  certain criteria or standards. It is a lawyer’s duty to object when the other side offers testimony or

  an exhibit that the lawyer believes is not properly admissible under the rules of law. Only by of-

  fering an objection can a lawyer request and obtain a ruling from me on the admissibility of the

  evidence being offered by the other side. You should not be influenced against any lawyer or the

  lawyer’s client because the lawyer has made objections.

         Do not attempt to interpret my rulings on objections as somehow indicating how I think

  you should decide this case. I am simply making a ruling on a legal question.




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                           Defendant’s Proposed Jury Instruction No. 7

                                        Judging the Evidence

          There is nothing particularly different in the way that a juror should consider the evidence

   in a trial from that in which any reasonable and careful person would deal with any very im-

   portant question that must be resolved by examining facts, opinions, and evidence. You are ex-

   pected to use your good sense in considering and evaluating the evidence in the case. Use the ev-

   idence only for those purposes for which it has been received and give the evidence a reasonable

   and fair construction in the light of your common knowledge of the natural tendencies and incli-

   nations of human beings.




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                           Defendant’s Proposed Jury Instruction No. 8

                                    Jury’s Recollection Controls

          If any reference by the Court or by counsel to matters of testimony or exhibits does not

   coincide with your own recollection of that evidence, it is your recollection which should control

   during your deliberations and not the statements of the Court or of counsel.

          You are the sole judges of the evidence received in this case.




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                            Defendant’s Proposed Jury Instruction No. 9

                           Evidence Admitted for a Limited Purpose Only

          Sometimes evidence may be admitted for a particular purpose and not generally for all

   purposes. You will recall that during the course of this trial I instructed you that I admitted cer-

   tain evidence for a limited purpose. You must consider this evidence only for the limited purpose

   for which it was admitted.




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                             Defendant’s Proposed Jury Instruction No. 10

                          Standard of Proof—Preponderance of the Evidence

           Plaintiff BMG has the burden in a civil action, such as this, to prove every essential ele-

   ment of plaintiff’s claim by a preponderance of the evidence. If plaintiff BMG should fail to es-

   tablish any essential element of plaintiff’s claim by a preponderance of the evidence, you should

   find for Cox as to that claim.

           The defendant Cox has the burden of establishing the essential elements of certain affirm-

   ative defenses. I will explain this later.

           “Establish by a preponderance of the evidence” means evidence, which as a whole,

   shows that the fact sought to be proved is more probable than not. In other words, a preponder-

   ance of the evidence means such evidence as, when considered and compared with the evidence

   opposed to it, has more convincing force, and produces in your minds belief that what is sought

   to be proved is more likely true than not true. This standard does not require proof to an absolute

   certainty, since proof to an absolute certainty is seldom possible in any case.

           In determining whether any fact in issue has been proved by a preponderance of the evi-

   dence, unless otherwise instructed you may consider the testimony of all witnesses, regardless of

   who may have called them, and all exhibits received in evidence, regardless of who may have

   produced them.

           You may have heard of the term “proof beyond a reasonable doubt.” That is a stricter

   standard applicable in criminal cases. It does not apply in civil cases such as this. You should,

   therefore, put it out of your minds.




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                           Defendant’s Proposed Jury Instruction No. 11

                                 Direct and Circumstantial Evidence

           Generally speaking, there are two types of evidence presented during a trial—direct evi-

   dence and circumstantial evidence. “Direct evidence” is the testimony of a person who asserts or

   claims to have actual knowledge of a fact, such as an eyewitness. “Indirect or circumstantial” ev-

   idence is proof of a chain of facts and circumstances indicating the existence or nonexistence of a

   fact.

           The law generally makes no distinction between the weight or value to be given to either

   direct or circumstantial evidence. A greater degree of certainty is not required of circumstantial

   evidence. You are required to find the facts in accordance with the preponderance of all the evi-

   dence in the case, both direct and circumstantial.




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                           Defendant’s Proposed Jury Instruction No. 12

                                               Inferences

          You are to consider only the evidence in the case. However, you are not limited to the

   statements of the witnesses. You may draw from the facts you find have been proved such rea-

   sonable inferences as seem justified in light of your experience.

          “Inferences” are deductions or conclusions that reason and common sense lead you to

   draw from facts established by the evidence in the case.




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                            Defendant’s Proposed Jury Instruction No. 13

                                       Credibility of Witnesses

          You are the sole judges of the credibility of the witnesses and the weight their testimony

   deserves. You may be guided by the appearance and conduct of a witness, or by the manner in

   which a witness testifies, or by the character of the testimony given, or by evidence contrary to

   the testimony.

          You should carefully examine all the testimony given, the circumstances under which

   each witness has testified, and every matter in evidence tending to show whether a witness is

   worthy of belief. Consider each witness’s intelligence, motive and state of mind, and demeanor

   or manner while testifying.

          Consider the witness’s ability to observe the matters as to which the witness has testified,

   and whether the witness impresses you as having an accurate recollection of these matters. Also,

   consider any relation each witness may have with either side of the case, the manner in which

   each witness might be affected by the verdict, and the extent to which the testimony of each wit-

   ness is either supported or contradicted by other evidence in the case.

          Inconsistencies or discrepancies in the testimony of a witness, or between the testimony

   of different witnesses may or may not cause you to discredit such testimony. Two or more per-

   sons seeing an event may see or hear it differently.

          In weighing the effect of a discrepancy, always consider whether it pertains to a matter of

   importance or an unimportant detail, and whether the discrepancy results from innocent error or

   intentional falsehood.




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          After making your own judgment, you will give the testimony of each witness such

   weight, if any, that you may think it deserves. In short, you may accept or reject the testimony of

   any witness, in whole or in part.

          In addition, the weight of the evidence is not necessarily determined by the number of

   witnesses testifying to the existence or nonexistence of any fact. You may find that the testimony

   of a small number of witnesses as to any fact is more credible than the testimony of a larger

   number of witnesses to the contrary.




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                            Defendant’s Proposed Jury Instruction No. 14

                         Impeachment—Inconsistent Statement or Conduct

          A witness may be discredited or impeached by contradictory evidence or by evidence that

   at some other time the witness has said or done something, or has failed to say or do something

   that is inconsistent with the witness’ present testimony.

          If you believe any witness has been impeached and thus discredited, you may give the

   testimony of that witness such credibility, if any, you think it deserves.

          If a witness is shown knowingly to have testified falsely about any material matter, you

   have a right to distrust such witness’ other testimony and you may reject all the testimony of that

   witness or give it such credibility as you may think it deserves.

          An act or omission is “knowingly” done, if the act is done voluntarily and intentionally,

   and not because of mistake or accident or other innocent reason.




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                            Defendant’s Proposed Jury Instruction No. 15

                                             Expert Witnesses

           The rules of evidence ordinarily do not permit witnesses to testify as to opinions or con-

   clusions. There is an exception to this rule for “expert witnesses.” An expert witness is a person

   who by education and experience has become expert in some art, science, profession, or calling.

   Expert witnesses give their opinions as to matters in which they profess to be expert, and may

   also state their reasons for their opinions.

           You should consider each expert opinion received in evidence in this case, and give it

   such weight as you think it deserves. If you should decide the opinion of an expert witness is not

   based upon sufficient education and experience, or if you should conclude the reasons given in

   support of the opinion are not sound, or if you feel the expert’s opinion is outweighed by other

   evidence, you may disregard the opinion entirely.




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                           Defendant’s Proposed Jury Instruction No. 16

                                    Use of Depositions as Evidence

          During the trial, certain testimony has been presented to you by way of deposition. The

   deposition consisted of sworn, recorded answers to questions asked of the witnesses in advance

   of the trial by attorneys for the parties to the case. The testimony of a witness who, for some rea-

   son, is not present to testify from the witness stand may be presented in writing under oath, or on

   a videotape. Such testimony is entitled to the same consideration and is to be judged as to credi-

   bility, weighed, and otherwise considered by you, insofar as possible, in the same way as if the

   witness had been present and had testified from the witness stand.




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                            Defendant’s Proposed Jury Instruction No. 17

                                       Answers to Interrogatories

            Each party has introduced into evidence certain interrogatories—that is, questions to-

   gether with answers signed and sworn to by the other party. A party is bound by its sworn an-

   swers.

            By introducing an opposing party’s answers to interrogatories, the introducing party does

   not bind itself to those answers. The introducing party may challenge the opposing party’s an-

   swers in whole or in part or may offer contrary evidence.




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                            Defendant’s Proposed Jury Instruction No. 18

                                Testimony and Documents by Lawyers

          You have heard testimony in this case from certain witnesses who are lawyers: Mr.

   Hauprich, Mr. Cadenhead, and Mr. Sabec. You have also seen documents in this case that dis-

   cuss and take different positions about the law. The law is what I tell you it is in these instruc-

   tions. It is not what has been stated in any document from either party, in any testimony by any

   lay or attorney witness, or in any statements by the attorneys in this case.




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                            Defendant’s Proposed Jury Instruction No. 19

                                The Digital Millennium Copyright Act

          As I indicated at the beginning of the case, you have heard some testimony and seen

   some documents that refer to the Digital Millennium Copyright Act, commonly known by its ini-

   tials “DMCA.” The DMCA provides that an internet service provider (commonly referred to as

   an “ISP”) like Cox may have a defense to liability for contributory copyright infringement aris-

   ing from the use of its services for infringement by its subscribers. This defense is often referred

   to as a “safe harbor.”

          The DMCA is not an affirmative defense in this case and must be disregarded.




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                            Defendant’s Proposed Jury Instruction No. 20

                                               Spoliation

          Cox sought information regarding historical versions of the Rightscorp source code that

   were in place between February 2012 and November 2014. Those versions of Rightscorp source

   code were not saved by Rightscorp. Rightscorp was required to save those earlier versions be-

   cause it believed litigation was likely and the operation and accuracy of Rightscorp’s system is

   material evidence. You may, but are not required to, consider the absence of earlier versions of

   that code in considering the issue of infringement.

          BMG sought Cox records identifying the Cox subscribers who had been assigned the IP

   addresses identified by Rightscorp. Cox did not save that information after this lawsuit was filed

   in November 2014. You may, but are not required to, consider Cox’s failure to preserve this ma-

   terial evidence that would have allowed the parties to identify Cox customers who were assigned

   specific IP addresses.




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                            Defendant’s Proposed Jury Instruction No. 21

                                        Exhibits During Deliberations

          I am sending the exhibits that have been received in evidence during the trial with you as

   you retire for your deliberations.




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                             Defendant’s Proposed Jury Instruction No. 22

                                          Copyright—Definition1

           Owning a “copyright” for a work gives the owner certain exclusive rights. The exclusive

   rights that are relevant in this case are the rights to:

           1.      Reproduce the copyrighted work, and

           2.      Distribute copies or sound recordings of the copyrighted work to the public by

   sale or other transfer of ownership or by rental, lease, or lending.

           The copyrighted works in this case are musical compositions, which include melodies

   and lyrics.




   1
    17 U.S.C. § 106(1), (3); O’Malley, et al., 3B Fed. Jury Prac. & Instr. § 160:1 (6th ed.) (Nature
   of the action).

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                           Defendant’s Proposed Jury Instruction No. 23

                                             BMG’s Claim

          BMG owns copyrights for the 1,397 musical compositions at issue in this case. BMG

   contends that Cox’s subscribers infringed those copyrighted musical compositions, and seeks to

   hold Cox contributorily liable for the infringement by Cox’s subscribers.

          Cox challenges BMG’s evidence of direct infringement by Cox’s subscribers, and denies

   that Cox is contributorily liable for any such infringement.




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                           Defendant’s Proposed Jury Instruction No. 24

                                         Direct Infringement

           In order to hold Cox liable for contributory infringement, BMG first must establish by a

   preponderance of the evidence that subscribers to Cox’s internet service used that service to in-

   fringe BMG’s copyrighted works. It is not enough for BMG to show that there was some in-

   fringement of its works; rather, BMG must prove specific instances of infringement of the works

   at issue.

           A copyright owner’s exclusive rights to reproduce and distribute its copyrighted work are

   infringed by the downloading of the copyrighted work without authorization. However, merely

   making a copyrighted work available for downloading or uploading by others does not infringe

   the copyright.

           If you find that subscribers to Cox’s internet service downloaded the specific BMG copy-

   righted works at issue without authorization, then BMG has established that subscribers to Cox’s

   internet service have infringed BMG’s copyrighted works. You must make this determination

   for each of BMG’s 1,397 copyrighted works at issue.




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                            Defendant’s Proposed Jury Instruction No. 25

                                     Contributory Infringement2

           A copyright may be infringed by contributory infringement. With certain exceptions, a

   person is liable for copyright infringement by another if the person, acting with the intent to

   cause direct copyright infringement of specific works, materially contributes to such infringe-

   ment.

           You may presume that Cox acted with such intent if you find that BMG has proven each

   of the following by a preponderance of the evidence:

           First: There was direct infringement of the specific BMG copyrighted works at issue by

   subscribers to Cox’s internet service;

           Second: Cox actually knew of those specific acts of direct infringement;

           Third: Cox actually knew that those specific acts were infringing;3 and

           Fourth: Cox had knowledge of the specific instances of direct infringement and could

   have taken steps to prevent such infringement in the future, but failed to do so.




   2
     BMG Rights Mgt. (US) LLC v. Cox Comm’s, Inc., 881 F.3d 293, 311-12 (4th Cir. 2018) (“the
   proper standard requires a defendant to have specific enough knowledge of infringement that the
   defendant could do something about it. On remand, therefore, the contributory infringement in-
   struction should require that Cox knew of specific instances of infringement or was willfully
   blind to such instances.”); Metro-Goldwyn-Mayer Studios Inc. v. Grokster, Ltd., 545 U.S. 913,
   933 (2005) (explaining that is insufficient in Sony that the defendant VCR manufacturer “kn[ew]
   [its VCRs were] in fact used for infringement”); 3 Nimmer on Copyright § 12.04[A][4][b] n.315
   (2015) (for contributory “liability to follow under either Sony or Grokster, there must be intent”).
   3
     See BMG, 881 F.3d at 308-09 (“contributory patent infringement ‘requires proof the defendant
   knew the acts were infringing’” (citing Global-Tech, 563 U.S. at 769-71, and quoting Commil
   USA, LLC v. Cisco Sys., Inc., 135 S. Ct. 1920, 1928)); BMG, 881 F.3d at 309 (“the Global-Tech
   rule developed in the patent law context, which held that contributory liability can be based on
   willful blindness but not on recklessness or negligence, is a sensible one in the copyright con-
   text”).

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          To establish contributory infringement, it is not sufficient for BMG to prove that Cox

   should have known of direct infringement of the specific BMG copyrighted works at issue. It is

   also not sufficient for BMG to prove that Cox actually knew of direct infringement occurring

   generally on its network.

          If Cox’s service has substantial non-infringing uses, you may not hold Cox liable unless

   Cox promoted the use of its service in a way that infringed BMG’s copyrights.4




   4
     O’Malley et al., Fed. Jury Practice & Instructions § 160:29 n.4 (6th ed. 2015) (citing Grok-
   ster, 545 U.S. at 937 (“[M]ere knowledge of infringing potential or of actual infringing uses
   would not be enough here to subject a distributor to liability. Nor would ordinary acts incident to
   product distribution … The inducement rule, instead, premises liability on purposeful, culpable
   expression and conduct, and thus does nothing to compromise legitimate commerce or discour-
   age innovation having a lawful promise.”)).
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                           Defendant’s Proposed Jury Instruction No. 26

                           Contributory Infringement—Willful Blindness

          In copyright law, willful blindness is considered to be knowledge. Cox acted with willful

   blindness if it was aware of a high probability that Cox subscribers were directly infringing the

   specific BMG copyrighted works at issue, but consciously avoided learning about those specific

   instances of direct infringement.5 To establish willful blindness, it is not sufficient for BMG to

   prove that Cox consciously avoided learning that Cox’s subscribers were directly infringing

   BMG’s copyrights in general.6

          You have heard evidence concerning notices of alleged infringement and Cox’s actions in

   blacklisting and blocking those notices. Accordingly, you must decide whether, in blacklisting

   and blocking the notices, Cox was aware of a high probability that Cox subscribers were directly

   infringing the specific BMG copyrighted works at issue, but consciously avoided learning about

   those specific instances of direct infringement.




   5
    Global-Tech Appliances, Inc. v. SEB S.A., 563 U.S. 754, 770 (2011) (willful blindness requires
   “active efforts … to avoid” “clear evidence of critical facts”).
   6
     BMG, 881 F.3d at 312 (“Since we have held that contributory infringement requires knowledge
   of, or willful blindness to, specific instances of infringement, the court’s willful blindness in-
   struction should similarly require a conclusion that Cox consciously avoided learning about spe-
   cific instances of infringement, not merely that Cox avoided confirming the fact that ‘Cox users
   were infringing BMG’s copyrights’ in general.”).

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                          Defendant’s Proposed Jury Instruction No. 27

                                               Agency

          Rightscorp is BMG’s agent. Any act or omission of Rightscorp within the scope of its au-

   thority is considered to be an act or omission of BMG.




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                            Defendant’s Proposed Jury Instruction No. 28

                                  Effect of Instruction as to Damages

          The fact that I am instructing you as to the proper measure of damages should not be con-

   sidered as indicating any view of mine as to which party is entitled to your verdict in this case.

   Instructions as to the measure of damages are given for your guidance only in the event you

   should find in favor of the plaintiff from a preponderance of the evidence in the case in accord-

   ance with the other instructions.




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                           Defendant’s Proposed Jury Instruction No. 29

                                        Damages—Generally

          If you find that Cox is liable for contributory infringement, then you should consider the

   amount of money to award to BMG. If you find that Cox is not liable for contributory infringe-

   ment, then you should not consider this issue.




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                            Defendant’s Proposed Jury Instruction No. 30

                                    Statutory Damages—Generally

            BMG seeks an award of statutory damages under the United States Copyright Act. “Stat-

   utory damages” are damages that are established by Congress in the Copyright Act because ac-

   tual damages in copyright cases are often difficult to establish with precision. The purposes are

   to compensate the copyright owner, penalize the infringer, and deter future copyright-law viola-

   tions.

            The amount awarded must be between $750 and $30,000 for each copyrighted work that

   you found to be infringed. If BMG proves that Cox acted willfully in contributorily infringing

   BMG’s copyrights you may, but are not required to, increase the statutory damage award to a

   sum as high as $150,000 per copyrighted work.

            You should award as statutory damages an amount that you find to be fair under the cir-

   cumstances. In determining the appropriate amount to award, you may consider the following

   factors:

                  The profits Cox earned because of the infringement

                  The expenses Cox saved because of the infringement

                  The revenues that BMG lost because of the infringement

                  The difficulty of proving BMG’s actual damages

                  The circumstances of the infringement

                  Whether Cox acted willfully in contributorily infringing BMG’ s copyrights

                  Deterrence of future infringement

                  The amount of harm, in the form of monetary loss, that BMG could reasonably

   have avoided but for the failure to mitigate damages, if you find that BMG did fail to mitigate.


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                             Defendant’s Proposed Jury Instruction No. 31

                                    Statutory Damages—Willfulness

             Cox’s infringement for contributory or vicarious infringement is considered willful if

   BMG proves by a preponderance of the evidence that Cox had knowledge that its subscribers’

   actions constituted infringement of BMG’s copyrights, acted with reckless disregard for the in-

   fringement of BMG’s copyrights, or was willfully blind to the infringement of BMG’s copy-

   rights.




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                          Defendant’s Proposed Jury Instruction No. 32

                             Affirmative Defense—Standard of Proof

          In this case, Cox asserts the affirmative defense of failure to mitigate damages. Cox must

   prove each element of this defense by a preponderance of the evidence.




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                           Defendant’s Proposed Jury Instruction No. 33

                                   Damages—Failure to Mitigate7

          The plaintiff has a duty to use reasonable efforts to mitigate damages. To mitigate means

   to avoid or reduce damages. BMG cannot recover for losses that BMG could have prevented if it

   had used reasonable efforts.

          Cox has the burden of proving by a preponderance of the evidence:

          1.      that BMG failed to use reasonable efforts to mitigate damages; and

          2.      the amount by which BMG’s damages would have been mitigated.

   If you find Cox has proved that BMG failed use reasonable efforts to mitigate the harm to it from

   Cox's contributory infringement, then you should reduce the amount of BMG’s damages by the

   amount BMG could have reduced such harm.




   7
    O’Malley, et al., 3B Fed. Jury Prac. & Instr. § 162:92 (6th ed.) (Securities Regulation, Section
   11 of the Securities Act of 1933 (15 U.S.C.A. § 77k)).

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                                Defendant’s Proposed Jury Instruction No. 34

                                            Final Instructions

          You must follow these rules while deliberating and returning your verdict:

          First, when you go to the jury room, you must select a foreperson. The foreperson will

   preside over your discussions and speak for you here in court.

          Second, it is your duty, as jurors, to discuss this case with one another in the jury and try

   to reach agreement.

          Each of you must make your own conscientious decision, but only after you have consid-

   ered all the evidence, discussed it fully with the other jurors, and listened to the views of the

   other jurors.

          Do not be afraid to change your opinions if the discussion persuades you that you should.

          But do not make a decision simply because other jurors think it is right, or simply to

   reach a verdict. Remember at all times that you are judges of the facts. Your sole interest is to

   seek the truth from the evidence in the case.

          Third, if you need to communicate with me during your deliberations, you may send a

   note to me through the marshal or bailiff, signed by one or more jurors. I will respond as soon as

   possible either in writing or orally in open court. Remember you should not tell anyone—includ-

   ing me—how your votes stand numerically.

          Fourth, your verdict must be based solely on the evidence and on the law I have given to

   you in these instructions. The verdict must be unanimous. Nothing I have said or done is in-

   tended to suggest what your verdict should be—that is entirely for you to decide.

          Finally, the verdict form is simply the written notice of the decision that you reach in this

   case. [The form reads: [quote]]. You will take this form to the jury room, and when each of you


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   has agreed on the verdict[s], your foreperson will fill in the form, sign and date it, and advise the

   marshal or bailiff that you are ready to return to the courtroom.



   Dated: August 21, 2018

                                                         Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

          I hereby certify that on August 21, 2018, a copy of the foregoing Defendants’ Proposed

   Jury Instructions were filed electronically with the Clerk of Court using the ECF system which

   will send notifications to ECF participants.



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